Case 2:19-CV- O° 9 RrrhO STATES DISTAICT CGURT, CENTRAL DISTRICTOF CALORNIA © Page ID #:47

 

 

 

 

 

CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] ) DEFENDANTS = ( Check box if you are representing yourself [_] )
SINCERELY, LLC, a Florida limited liability company, VERDE MARKETING, LLC, a
JAMES ANDREWS, CARMEN ANDREWS and EMILY PARKS Kansas limited liability company, and DOES 1-100
(b) County of Residence of First Listed Plaintiff Unknown CA County of Residence of First Listed Defendant West Palm Beach FL
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information. representing yourself, provide the same information.
Timothy J. Walton and Jim Twu, WALTON TWU LLP, 9515 Soquel Dr., Ste. 207, Aptos, | Benjamin L. Tompkins and Mit Winter, KENNYHERTZ PERRY, LLC, 2000 Shawnee
CA 95003-4137 PH. (831) 685-9800 Mission Pkwy., Ste. 210, Mission Woods, KS, 66205 PH. (816) 527-9447-VERDE
Thomas Valfrid Anderson and J. Daniel Jung, ANDERSON & JUNG, 21600 Oxnard St. | Sarah de Diego, DE DIEGO LAW, LLC, 1607 Ave Juan Ponce de Leon, Cobian Plaza
Ste. 1030, Woodland Hills, CA 91367 PH. (310) 400-9740 GMO06, San Juan, PR 00911 PH. (310) 980-8116-SINCERELY
Il. BASIS OF JURISDICTION (Place an X in one box only.) Il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF ee PTF DEF
1. U.S. Government [_] 3. Federal Question (U.S. Citizen of This State 1 [] 1 [ncorporated or Principal Place =) 4 [] 4
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [—] 2 [] 2 Incorporated and Principal Place C15 ] 5
of Business in Another State

2. U.S. Government [x]? Diversity (Indicate Citizenship [Citizen or Subject of a 13 [73 Foreign Nation Oeoe

Defendant of Parties in Item III) Foreign Country

 

 

IV. ORIGIN (Place an X in one box only.) tea wae
a : 6. Multidistrict 8. Multidistrict
C 1. Original x 2. Removed from O 3. Remanded from CO 4. Reinstated or CO 5. Transferred from Another O Litigation - O Litigation -
Proceeding State Court Appellate Court Reopened District (Specify) Transfer Direct File

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [[] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [_] Yes No [_] MONEY DEMANDED IN COMPLAINT: $ 452,000.00
VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Removed on diversity grounds under 28 U.S.C. §§ 1332, 1441, 1446; suit for violation of Cal. Bus. & Prof. Code § 17529.5.

 

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[1] 375 False Claims Act [_] 110 Insurance [_] 240 Torts to Land gO Ae aa ation Habeas Corpus: J 820 Copyrights
376 Qui Tam L] 120 Marine [] 245 Tort Product [] 463 Alien Detainee _] 830 Patent
lability 510 Motions to Vacate
Liabil h
(31 USC 3729(a)) [ 165 Other oO 835 Patent - Abbreviated
J 130 Miller Act [] 290 All Other Real Immigration Actions Sentence oO 9 Patent - Abbreviate
O 400 State UI 140 Negotiable OP TORTS L_] 530 General New Drug Application
eapportionment Instrument PERSONAL PROPERTY |[_]| 535 Death Penalty [_] 840 Trademark
CJ 410 Antitrust 150 Recovery of PERSONAL INJURY 370 Other Fraud Other: SOCIAL SECURITY
[1 430 Banks and Banking |[_] Overpayment & [-] 310 Airplane O [_] 861 HIA (1395ff)
Enforcement of 315 Airplane (1) 371 Truth in Lending |[_] 540 Mandamus/Other
Oo Ronee ercesiCC Judgment Cc Product Liability q 380 Other Personal |LJ 550 Civil Rights [_] 862 Black Lung (923)
[1] 460 Deportation [_] 151 Medicare Act oO 320 assault Libel & Property Damage oO 555 Prison Condition [_] 863 DIWC/DIWW (405 (g))
Slander a .
_ 152R f ' 385 Property Damage 560 Civil Detainee 864 SSID Title XVI
Oo 470 Racketeer Influ Def. ited Sted oO 330 Fed. Employers CI Product Liability [1 Conditions of U
enced & Corrupt Org. |[_] Defaulted Student Liability RSI
Oo 480 Consumer Credit Loan (Excl. Vet.) qo BANKRUPTCY Confinement Cc 865 RS| (405 (g))
340 Marine
[1 490 Cable/Sat Tv 4 153 Recovery of Fy 245 Marine Product | 422 Appeal 28 BORSERUR Eee FEDERALTAXSUITS _|
Overpayment of iabili 625 Drug Related inti
oO 850 Securities/Com- Vet. Benefits Liability ql 423 Withdrawal 28 C1 Seizure of Property21 |] ete. Plaintiff or
moadities/rxchange Ty 160 Stockholders [] 350 Motor Vehicle USC 157 oo aa [871 IRS-Third Party 26 USC
[890 Other Statutory Suits [J 355 Motor Vehicle CIVIL RIGHTS O ther 7609
Actions Product Liability [] 440 Other Civil Right LABOR
‘ 190 Other 360 Other P. | er Civil Rights
O os ee O Contract Injury errersona [J 441 Voting oO 70 Fair Labor Standards
O Matters a oO 195 Contract Oo 362 Personal Injury-
895 Freedom of Inf Product Liability Med Malpratice O ag Eepioyment oO 720 Labor/Mgmt.
reedom of Info. . jury. lousing elations
Once [-] 196 Franchise oO 7 Personal Injury LI Accommodations .
roduct Liability : . [] 740 Railway Labor Act
[1 896 Arbitration REAL PROPERTY 367 Health Care/ 445 American with 751 Family and Medical
[] 210 Land Pharmaceutical [_] Disabilities oO amy and Medica
899 Admin. Procedures A O ; Employment Leave Act
. Condemnation Personal Injury
1) Act/Review of Appeal of [1] 220 Foreclosure Product Liability q 446 American with O 790 Other Labor
Agency Decision 230 Rent Lease & |C] 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of ent Lease P Inj ; 791 Employee Ret. Inc.
CO State Statutes CO Ejectment Producy Liabilty [] 448 Education CO Security Act

 

 

 

 

 

 

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CIVIL COVER SHEET

VIII, VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?
[] No

Yes
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF;

INITIAL DIVISION IN CACD IS:

 

 

 

[x] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[_] Orange Southern
[_] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes [] No

If "no, " skip to Question C. If "yes," answer
Question B.1, at right.

B.1, Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes [] No

If "no, " skip to Question D. If "yes," answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

QUESTION D: Location of plaintiffs and defendants?

[-] Enter "Western" in response to Question E, below, and continue
from there.
A. B. Cc.
Riverside or San Los Angeles, Ventura,
Orange County Bernardino County | Santa Barbara, or San

Luis Obispo County

 

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

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Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

 

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D.1. Is there at least one answer in Column A?

[_] Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[_] No

—

D.2. Is there at least one answer in Column B?

[] Yes [_]No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: ma

 

WESTERN

 

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

 

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CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [_] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [1] Yes

 

Civil cases are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[ ] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):

/s/_ Benjamin L. Tompkins DATE: 11/5/19

 

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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